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  IT IS ORDERED as set forth below:



  Date: February 5, 2021
                                              ________________________________
                                                          Paul Baisier
                                                  U.S. Bankruptcy Court Judge

  _______________________________________________________________


                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                    )         CASE NO. 20-62473-PMB
                                          )
ASCENSION AIR MANAGEMENT, INC.,           )         CHAPTER 7
                                          )
        Debtor.                           )
                                          )
                                          )
S. GREGORY HAYS, Trustee for the          )
Estate of Ascension Air Management, Inc., )
                                          )
        Movant,                           )         CONTESTED MATTER
                                          )
V.                                        )
                                          )
AERO SPECIALTY FINANCE, LLC and           )
CARROLTON BANK, its Assignee, and         )
DEKALB COUNTY TAX COMMISSIONER, )
ASCENSION AIR MANAGEMENT, INC.,           )
                                          )
        Respondents.                      )
                                          )

 ORDER ON TRUSTEE’S MOTION FOR AN ORDER (I) AUTHORIZING (A) THE SALE
  AT PUBLIC AUCTION OF PROPERTY OF THE BANKRUPTCY ESTATE FREE AND
      CLEAR OF ALL LIENS, INTERESTS, AND ENCUMBRANCES AND (B) THE
 DISBURSEMENT OF CERTAIN PROCEEDS AT CLOSING AND (II) APPROVING THE
    SETTLEMENT BETWEEN TRUSTEE AND AERO SPECIALTY FINANCE, LLC


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        On January 11, 2021, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Ascension Air Management, Inc. (“Debtor”),

filed Trustee’s Motion for an Order (I) Authorizing (A) the Sale at Pubic Auction of Property of

the Bankruptcy Estate Free and Clear of All Liens, Interests, and Encumbrances and (B) the

Disbursement of Certain Proceeds at Closing and (II) Approving the Settlement Between Trustee

and Aero Specialty Finance, LLC [Doc. No. 47] (the “Motion”), pursuant to 11 U.S.C. §§

363(b), (f), and (m), and Fed. R. Bankr. P. 2002(a)(2), 6004(a), 6004(c), 9014, and 9019. In the

Motion, Trustee is seeking, among other things, an order from the Court (a) authorizing the sale

(the “Sale”) of a Cirrus Design Corp SR22T, Serial No. 0636, Registration No. N928CS (the

“Airplane”) at public auction and (b) for approval of the proposed settlement (the “Settlement”)

between Trustee and Aero Specialty Finance, LLC (“Aero Specialty”), whereby (i) Aero

Specialty consents to Trustee’s sale of the Airplane; and (ii) the Bankruptcy Estate will have a

carve-out from Aero Specialty security interest in the Airplane in the amount of $30,000.00 (the

“Estate Carve-Out”). The exact terms of the Settlement and the Sale are set forth in the

Motion.

        Also on January 11, 2021, Trustee filed a Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 49] (the “Notice”) regarding the Motion, in accordance with General Order

No. 24-2018. Counsel for Trustee certifies that he served the Notice on all requisite parties in

interest on January 11, 2021. [Doc. No. 50].

        The Notice provided notice of the opportunity to object and for hearing scheduled

for February 8, 2021 at 1:35 p.m., pursuant to the procedures in General Order No. 24-2018.

No objection to the Motion was filed prior to the objection deadline provided in the Notice.




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          Having considered the Motion and all other matters of record, including the lack of

objection by any creditor or party in interest to the relief requested in the Motion, and based on

the foregoing, finding that no further notice or hearing is necessary; and, the Court having found

good cause exists to grant the relief requested in the Motion, it is hereby

          ORDERED that the Motion is GRANTED. It is further

          ORDERED that the Sale is APPROVED and Trustee is authorized to sell the Airplane

at public auction. It is further

          ORDERED that upon consummation of the Sale of the Airplane, the transfer and

assignment of the Airplane shall be free and clear of all liens, claims, interests, and

encumbrances of any kind or nature whatsoever, with any valid, perfected, enforceable, and

unavoidable lien attaching to the proceeds of the Sale with the same validity, priority, and extent

that it had in the Airplane. It is further

          ORDERED that the sale of the Airplane by Trustee is “as is,” “where is,” and without

representation or warranty, express or implied, from Trustee. It further

          ORDERED that Trustee is authorized to sign all documents necessary to transfer title of

the Airplane as set forth herein. It is further

          ORDERED that Trustee is authorized to make those distributions set forth in the Motion,

following the closing of the Sale. It is further

          ORDERED that Settlement is APPROVED and its terms are incorporated herein. It is

further

          ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Settlement. It is further




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        ORDERED that this Court retains exclusive jurisdiction over any action relating to,

based upon, or arising from: (i) disputes or controversies relating to or concerning the Sale of the

Airplane, (ii) interpretation, implementation, and enforcement this Order, and (iii) resolution of

any disputes regarding or concerning the Settlement. It is further

        ORDERED that, under Fed. R. Bankr. P. 6004(h), this Order shall be effective and

enforceable immediately upon entry, and its provisions shall be self-executing. In the absence of

any person or entity obtaining a stay pending appeal, Trustee is authorized to proceed to auction

publicly the Airplane at any time.

                                     [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Chapter 7 Trustee

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Identification of parties to be served:

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30363-1031

S. Gregory Hays, Chapter 7 Trustee, Hays, Financial Consulting, LLC, Suite 555, 2964
Peachtree Road, Atlanta, GA 30305




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